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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                BECKLEY DIVISION


GREENBRIER HOTEL CORPORATION;
JAMES C. JUSTICE COMPANIES, INC.;
TWIN FIR ESTATES, LLC; WILCOX
INDUSTRIES, INC.; JUSTICE LOW SEAM
MINING, INC.; PLAYERS CLUB, LLC;
JUSTICE     FAMILY        GROUP,   LLC;
GREENBRIER MEDICAL INSTITUTE, LLC;
GREENBRIER GOLF & TENNIS CLUB
CORPORATION;       THE      GREENBRIER
SPORTING CLUB DEVELOPMENT CO., INC.;
THE GREENBRIER SPORTING CLUB, INC.;
TAMS MANAGEMENT, INC.; BELLWOOD
CORPORATION; OAKHURST CLUB, LLC;
JAMES C. JUSTICE, II; CATHY L. JUSTICE;
and JAMES C. JUSTICE, III,

        Plaintiffs,

v.                                                             Case No.    05:23-cv-00731

CARTER BANK & TRUST; CARTER
BANKSHARES, INC.; LITZ H. VAN DYKE;
PHYLLIS Q. KARAVATAKIS; MICHAEL R.
BIRD; KEVIN S. BLOOMFIELD; ROBERT
BOLTON; GREGORY W. FELDMANN;
JAMES W. HASKINS; JACOB A. LUTZ, III; E.
WARREN MATTHEWS; CATHARINE L.
MIDKIFF; CURTIS E. STEPHENS; and
ELIZABETH LESTER WALSH,

        Defendants.

                           PLAINTIFFS’ MOTION FOR LEAVE
                         TO FILE FIRST AMENDED COMPLAINT

        Plaintiffs move the Court for leave to file their First Amended Complaint, a redacted copy

of which is attached hereto as Exhibit A, with the corresponding unredacted pleading this day
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being tendered under seal and served on Defendants. Plaintiffs submit that the proposed First

Amended Complaint should be temporarily sealed for the same reasons set forth in the

memorandum of law [Doc. 5-1] filed in support of their corrected motion to seal the Complaint,

which Plaintiffs incorporate here in its entirety. Plaintiffs further state:

        1.       In conformance with the Rules of Civil Procedure, Plaintiffs may amend their

Complaint with leave of the Court, and leave should be “freely give[n] . . . when justice so

requires.” FED. R. CIV. P. 15(a)(2).

        2.       Defendants have yet to answer the initial Complaint. Plaintiffs seek to supplement

that Complaint with an additional claim (Count Six) for declaratory relief, together with the

necessary factual allegations in support. If ultimately adjudicated in Plaintiffs’ favor, Count Six

would invalidate a purported agreement among the parties that Plaintiffs assert was used by

Defendants as an instrument of the unlawful conduct alleged in the Complaint. Justice therefore

requires, particularly given the nascency of these proceedings, that Plaintiffs be permitted to

formally put in issue whether the subject agreement may be enforced.

        3.       By its Order of January 17, 2024 [Doc. 32], the Court deferred decision on sealing

the operative Complaint and stayed motion practice challenging the propriety of venue in this

forum and personal jurisdiction over the director Defendants [Docs. 16-18, 20], bifurcating

consideration of Defendants’ motion to dismiss the redacted Complaint pursuant to Rule 12(b)(6)

[Docs. 30-31].

        4.       The Court may accept the First Amended Complaint for filing without disturbing

the stay currently in effect. The addition of Count Six would not affect the legal analysis bearing

on personal jurisdiction or venue. Further, because the substantive components of Count Six and

supporting allegations have been redacted for the time being as nonpublic, the underlying claim is

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beyond the scope of Defendants’ 12(b)(6) motion targeting the legal sufficiency of the public

allegations. Moreover, because this motion and the First Amended Complaint must inevitably be

considered either by this Court or in the proposed transferee venue, Defendants will suffer no

prejudice from submission of those materials sooner rather than later.

       5.      This motion for leave to amend is therefore not “motion practice” within the

contemplation of the stay. Should the Court conclude the opposite, Plaintiffs request in the

alternative that the stay be lifted for the limited purpose of accepting this motion and then

immediately be reimposed.

       Plaintiffs thus request that the Court: (i) grant this Motion; (ii) accept the First Amended

Complaint for filing under seal; and (iii) afford them such other and further relief as may be

appropriate.

       DATED:         February 14, 2024


Respectfully submitted,

GREENBRIER HOTEL CORPORATION
JAMES C. JUSTICE COMPANIES, INC.
TWIN FIR ESTATES, LLC
WILCOX INDUSTRIES, INC.
JUSTICE LOW SEAM MINING, INC.
PLAYERS CLUB, LLC
JUSTICE FAMILY GROUP, LLC
GREENBRIER MEDICAL INSTITUTE, LLC
GREENBRIER GOLF & TENNIS CLUB CORPORATION
THE GREENBRIER SPORTING CLUB DEVELOPMENT CO., INC.
THE GREENBRIER SPORTING CLUB, INC.
TAMS MANAGEMENT, INC.
BELLWOOD CORPORATION
OAKHURST CLUB, LLC
JAMES C. JUSTICE, II
CATHY L. JUSTICE


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JAMES C. JUSTICE, III

By Counsel:

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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on February 14, 2024, the foregoing

Plaintiffs’ Motion for Leave to File First Amended Complaint was served electronically through

the Court’s CM/ECF system, providing notice of the filing to counsel of record.



                                                /s/ Steven R. Ruby
                                                Steven R. Ruby (WVSB #10752)
